The Akron, Canton &amp; Youngstown Railroad Company, Petitioner, v. Commissioner of Internal Revenue, RespondentAkron, C. &amp; Y. R. Co. v. CommissionerDocket No. 37357United States Tax Court22 T.C. 648; 1954 U.S. Tax Ct. LEXIS 167; June 25, 1954, Filed.  June 25, 1954, Filed *167 Decision will be entered under Rule 50.  Petitioner, in a tax-free reorganization of two railroad corporations, acquired the roadway assets of its predecessors on February 1, 1944.  The predecessors had used the retirement method of accounting. Under section 113 (a) (20), Internal Revenue Code, the basis of the properties acquired is the same as the basis of the predecessors on January 31, 1944.  Beginning with its first taxable period, petitioner adopted the straight-line depreciation method of accounting. It did not ask for or obtain the Commissioner's permission to use the straight-line depreciation method of accounting. Petitioner computed annual depreciation deductions on roadway assets based upon the basis of its predecessors which, because they used the retirement method of accounting, was the original cost.  Petitioner sustained losses in 1944 and 1945 upon the retirement of certain assets which the predecessors acquired before March 1, 1913.  Respondent reduced the predecessors' basis by 30 per cent for "depreciation accrued" prior to February 1, 1944, under section 41 of the Code, which resulted in disallowances, in part, of the deductions for depreciation in each *168  of the taxable years.  Also, he adjusted, under section 113 (b) (1) (C) for depreciation sustained prior to March 1, 1913, the basis of the properties which were retired. He makes an alternative contention that petitioner is not entitled to use the straight-line depreciation method but must use the retirement method.It is held:(1) That petitioner, a new taxable entity, is entitled to adopt the straight-line depreciation method of accounting without obtaining prior consent of the Commissioner; it is not obliged to use the retirement method.(2) That petitioner is entitled to recover through equal annual depreciation allowances over the useful life of the assets remaining unexpired at February 1, 1944, the basis in its hands of the assets acquired in the tax-free reorganization without a 30 per cent adjustment of the basis of the predecessors for pre-February 1, 1944, depreciation; adjustment of substituted basis under section 113 (b) (1) (B) is not "proper"; section 113 (b) (1) (B) is not applicable.(3) That for the computation of retirement loss deductions in 1944 and 1945, the predecessors' basis in petitioner's hands is not to be adjusted for pre-March 1, 1913, depreciation*169  sustained, section 113 (b) (1) (C) being inapplicable.  Boston &amp; Maine Railroad, 16 T. C. 1517, reversed on other grounds 206 F.2d 617"&gt;206 F. 2d 617, followed.  Warren E. Hacker, Esq., for the petitioner.James F. Kennedy, Jr., Esq., for the respondent.  Harron, Judge.  HARRON *649  The Commissioner determined deficiencies in income tax for the taxable periods ending on December 31 of the years 1944 through 1949, as are set forth below.  The first taxable period of the petitioner was from February 1 through December 31, 1944.Taxable periodDeficiency1944$ 10,343.7219459,035.4019462,029.03194710,054.2719489,441.31194914,408.57$ 55,312.30The petitioner claims that it has made overpayments of income tax for each of the taxable periods involved except 1949.The Commissioner has made claims for increases in the deficiencies in the event it is held that petitioner is required to use the retirement method of accounting.The petitioner, a new corporation, *171  acquired the roadway assets of two railroad corporations in a tax-free reorganization under section 77 of the National Bankruptcy Act, as amended.  The predecessor corporations used the retirement method of accounting. Since its organization petitioner has used the straight-line depreciation method of accounting and contends that it is proper for it to use that method.  Respondent contends that it should be required to use the *650  retirement method.  A question for decision is whether petitioner must use the retirement method of accounting. If it is held that petitioner may use the straight-line depreciation method a further question for decision is: For the purpose of computing deductions for depreciation of acquired roadway assets, is it "proper" under sections 113 (b) (2) and 113 (b) (1) (B) of the Code to reduce the basis of the predecessors by 30 per cent for depreciation actually sustained with respect to the period after February 28, 1913, through January 31, 1944?The petitioner, in its taxable periods ended on December 31, 1944 and 1945, retired some of the roadway assets which it acquired from the predecessor corporations.  The properties were acquired by the predecessors*172  before March 1, 1913.  Petitioner is entitled to deductions for losses upon the retirement of the properties.  The parties disagree upon the amount of the basis for the purpose of the loss deduction.  The question for decision is: Whether, for the purpose of computing losses sustained in 1944 and 1945, the basis of the property which was retired shall properly be adjusted for depreciation sustained prior to March 1, 1913, under section 113 (b) (1) (C)?All of the facts have been stipulated.The petitioner filed its returns with the collector for the eighteenth district of Ohio.FINDINGS OF FACT.The facts stipulated are hereby found accordingly.  The stipulation of facts and the attached exhibits are incorporated herein by this reference.The petitioner is a new corporation.  It commenced business on February 1, 1944.  On that date it acquired the roadway assets of two predecessor railroad corporations in a nontaxable reorganization. The petitioner has used at all times the so-called straight-line depreciation method of accounting which is an approved standard method of accounting.Petitioner's predecessors were The Northern Ohio Railroad Company, which was organized on August 14, *173  1895, and The Akron, Canton &amp; Youngstown Railway Company, which was organized on June 6, 1907.  Both were organized under the laws of Ohio.The predecessor corporations were in reorganization under section 77 of the National Bankruptcy Act, as amended, under the jurisdiction of the United States District Court for the Northern District of Ohio from April 3, 1933, until their consolidation on February 1, 1944.  All of the properties of the predecessor corporations were transferred to the petitioner on February 1, 1944, under court order, to effectuate a plan of reorganization approved by the court in the reorganization proceedings.  The petitioner is a new corporation *651  resulting from a statutory consolidation of the two predecessor corporations under section 9025, et seq., of the Ohio General Code.The predecessor corporations at all times used the retirement method of accounting which is an approved standard system of accounting used by many railroads as well as by other utilities, and which is and was recognized by the Commissioner as a proper method of accounting for income tax purposes.  Under this method of accounting, referred to hereinafter as the retirement method, *174  (1) the cost of original items of property is charged to the appropriate asset account; (2) the cost of items costing less than a specified sum (said limit ranging from $ 100 to $ 500 at various times prior to February 1, 1944) and the cost of items which do not constitute a major part or which are not in excess of 50 per cent of the value of the unit of property affected is expensed against income regardless of the useful life of such items; (3) the cost of renewals, replacements, additions, and betterments (other than those expensed as aforesaid) is charged to the appropriate asset account; (4) upon retirement, the cost of the original item of property plus the cost of any renewals, replacements, additions, and betterments as were, under the system, charged to the asset account, is credited to the asset account and such cost, less salvage, is charged against income in the year of retirement; and (5) no depreciation account is maintained and no allowance for exhaustion, wear and tear, or obsolescence is charged to income with respect to any item or group of items of property.The cost of the predecessors' roadway assets, hereinafter referred to as the assets, which petitioner acquired*175  from them in the tax-free reorganization was $ 2,141,980.  Immediately before petitioner acquired the assets, i. e., on January 31, 1944, the assets were carried in the capital accounts of the predecessor corporations at their cost, $ 2,141,980.  Since there are no annual depreciation charges, as such, under the retirement method, no annual adjustments ever were made by the predecessor corporations on their books in the book value of the assets.At all times since February 1, 1944, petitioner has kept its books and filed its Federal income tax returns deducting against income with respect to roadway assets an amount designated "depreciation" computed on an annual basis equal to the predecessors' basis, or cost, adjusted for additions, betterments, and retirements made by petitioner after February 1, 1944, less estimated salvage, divided by the number of years of useful life unexpired at February 1, 1944.The straight-line depreciation method of accounting is and was a standard approved system of accounting, recognized by the respondent as a proper method of accounting for income tax purposes.  Under this method of accounting, deduction for exhaustion, wear and *652  tear, or obsolescence*176  is charged against income annually and is computed by writing off and deducting against income in equal amounts over the period of the assets' estimated useful life the basis adjusted for additions, betterments, and retirements, less estimated salvage.Petitioner did not ask for or obtain the Commissioner's permission to use the straight-line depreciation method.The respondent determined that the basis of the assets in the hands of the predecessor corporations, the substituted basis in petitioner's hands, should be reduced by 30 per cent for "depreciation accrued" prior to February 1, 1944.  Accordingly, he set up a "reserve for past depreciation" in the amount of 30 per cent of the predecessors' basis with resulting decreases in the amounts of the allowances for annual depreciation. He reduced the depreciation deductions which petitioner took in its returns, for the taxable periods ended on December 31, 1944, 1945, 1946, 1947, 1948, and 1949 by $ 52,122.95, $ 62,392.48, $ 60,501.53, $ 51,563.11, $ 35,708.86, and $ 40,685, respectively.During the taxable periods ended December 31, 1944 and 1945, respectively, petitioner retired certain roadway assets which had been acquired by *177  the predecessor corporations prior to March 1, 1913.  In its income tax returns, the petitioner claimed deductions for loss on the retirements in amounts equal to the predecessors' basis of the assets, minus depreciation claimed by petitioner for the period February 1, 1944, to the respective dates of retirement, and minus estimated salvage.  The respondent determined that the predecessors' basis for the assets retired should be adjusted to reflect depreciation sustained prior to March 1, 1913.  Accordingly, respondent reduced the amounts of the retirement loss deductions claimed by petitioner by $ 469.14, and $ 501.22, respectively.On June 12, 1930, one of petitioner's predecessors, The Akron, Canton &amp; Youngstown Railway Company, purchased 274 shares of stock in The Akron Industrial Foundation, Inc., at a cost of $ 27,400.  Neither petitioner nor its predecessor corporation received any distribution on account of the 274 shares except that on December 29, 1948, petitioner received $ 1,370 cash as its share of the distribution in complete liquidation of the foundation and in complete cancellation and redemption of the 274 shares, resulting in a long-term capital loss of $ 26,030 to*178  the petitioner for the calendar year 1948.OPINION.The Commissioner originally did not question the right of petitioner to use the straight-line depreciation method.  He proceeded, in determining the deficiencies, upon the premise that petitioner had the right to use that method.  He reduced the basis of the assets acquired from the predecessor corporations by 30 per cent *653  for "depreciation accrued" during the period February 28, 1913, to February 1, 1944.  As a result, he decreased the annual deductions for depreciation. He made his determination under section 41 of the Code.The Commissioner now regards petitioner's use of the straight-line depreciation method as involving a change from the retirement to the depreciation method.  In his answer, he made an affirmative pleading by which he raised an alternative issue, namely, that if his determination resulting in reductions of the amounts of deductions for depreciation is held to be improper, then the petitioner is not entitled to any annual depreciation deductions, but in lieu thereof the petitioner can take only deductions which are proper under the retirement method.  In other words, in the alternative, the Commissioner*179  contends that petitioner must use the retirement method of accounting.1. Is petitioner obliged to use the retirement methodThis proceeding does not involve an effort of a railroad taxpayer to change its method of accounting from the retirement method to the straight-line depreciation method, or to adopt a hybrid method of accounting. Cf.  Central Railroad Co. of New Jersey, 35 B. T. A. 501. The petitioner, a railroad company, is a new taxable entity, a new taxpayer. Marion-Reserve Power Co., 1 T. C. 513, 516. It came into existence on February 1, 1944, as the result of a merger of two old railroad companies.  Our decision in Textile Apron Co., 21 T. C. 147, disposes of the alternative contention of the respondent that petitioner must use the retirement method.In Textile Apron Co., supra, the Commissioner relied upon the point that the taxpayer was a new taxpaying entity, and he rejected the idea that because the taxpayer was formed in a tax-free reorganization an election of its predecessors to employ a certain type of accounting had a continuing effect. *180  The Commissioner in the cited case relied upon a regulation, section 29.22 (d)-2 of Regulations 111.  We sustained the Commissioner's contentions in Textile Apron Co., supra, because the taxpayer failed to conform to the requirements of the regulation. We pointed out, also, that the taxpayer was "an entirely new and separate taxpayer," and that the fact that the taxpayer had received assets in a tax-free exchange and that the assets received retained the bases which they had in the hands of the transferor did not entitle or compel the taxpayer to employ the same accounting methods of the transferor. We pointed out, further, that the taxpayer was free to employ an entirely different method of accounting than its predecessor had employed.The respondent takes a position here which is inconsistent with that which he took in Textile Apron Co., supra. See the analagous *654  cases: Athol Manufacturing Co., 22 B. T. A. 105, affd.  54 F. 2d 230; National Bank of Commerce of Seattle, 12 T. C. 717; Gage Brothers &amp; Co., 13 T. C. 742;*181 Marion-Reserve Power Co., supra.2. For the purpose of computing depreciation allowances is an adjustment of predecessors' basis "proper" with respect to period after February 28, 1913, through January 31, 1944, under sections 113 (b) (2) and 113 (b) (1) (B)?The question to be decided is whether an adjustment to the predecessor corporations' basis, which is the ledger cost of roadway assets apparently maintained on their books from the dates of acquisition, is a "proper adjustment" with respect to the period after February 28, 1913, through January 31, 1944, to compensate for depreciation actually sustained after February 28, 1913, the predecessor corporations having used the retirement method of accounting at all times.  The period before March 1, 1913, is not involved.The petitioner did not make any adjustment of the substituted basis for past depreciation because of its understanding that under the retirement method of accounting (which the predecessor corporations used), "although no depreciation is charged, as such, the capital accounts will as reasonably reflect the current investment in roadway properties at any*182  given date as would be true if a specifically designated depreciation account were established and maintained by the 'straight-line' or some other acceptable method." (Emphasis supplied.) Boston &amp; Maine Railroad, 16 T.C. 1517"&gt;16 T. C. 1517, 1526, reversed on other issues 206 F.2d 617"&gt;206 F. 2d 617. The petitioner relies upon Boston &amp; Maine Railroad, supra;Union Pacific Railroad Co., 14 T.C. 401"&gt;14 T. C. 401, reversed on other issues 188 F. 2d 950; and Los Angeles &amp; Salt Lake Railroad Co., 4 T. C. 634. The petitioner contends that it is entitled to recover the predecessor corporations' depreciable basis over the useful lives of the assets in question remaining unexpired at February 1, 1944.Petitioner's basis for the assets is the same as in the hands of its predecessors under section 113 (a) (20), and is thus a "substituted basis" as defined in section 113 (b) (2).  Section 113 (b) (2) provides, in part, as follows:Whenever it appears that the basis of property in the hands of the taxpayer is a substituted basis, then the adjustments provided*183  in paragraph (1) of this subsection shall be made after first making in respect of such substituted basis proper adjustments of a similar nature in respect of the period during which the property was held by the transferor * * *.Section 113 (b) (1), referred to in section 113 (b) (2), provides that in determining adjusted basis "proper adjustment" in respect of the property shall in all cases be made for exhaustion, wear and tear, and obsolescence "to the extent sustained," with respect to any period prior to March 1, 1913; and for exhaustion, wear and tear to the *655  extent of the amount allowed as deductions under the income tax laws, but not less than the amount allowable under the income tax laws, in respect of any period since February 28, 1913.  (Emphasis added.) The pertinent parts of sections 113 (b) (1) (B) and (C), and 113 (b) (2) are quoted in the margin.  1*184 What was said in Los Angeles &amp; Salt Lake Railroad Co., supra, pp. 647-649, applies here.  The rationale of that case followed that of Chicago &amp; North Western Railway Co. v. Commissioner, 114 F. 2d 882, affirming 39 B. T. A. 661, certiorari denied 312 U.S. 692"&gt;312 U.S. 692, and it has received approval in Commissioner v. Union Pacific Railroad Co., 188 F.2d 950"&gt;188 F. 2d 950, 952; and Boston &amp; M. R. R. v. Commissioner, 206 F. 2d 617. The same reasoning applies here even though the question relates to the period after February 28, 1913, through January 31, 1944.  See Kansas City Public Service Co. v. United States, 100 F. Supp. 105"&gt;100 F. Supp. 105.In considering the question we must take into account first the provisions of section 113 (b) (2).  The purpose of that section is set forth in the report of the House Ways and Means Committee, H. Rept. No. 708, 72d Cong., 1st Sess. (1931), pp. 17, 18, 19, relating to the 1932 Act.  See, also, 3 Mertens, Law of Federal Income Taxation, sec. 21.164, p. 609.  The*185  purpose, in substance, is that "where there is a substituted basis * * * not only the 'basis' itself, but also the adjustments *656  pertaining thereto must be continued or carried over." For purposes of section 113 (b) (2), the critical date in this case is January 31, 1944.  We agree with the petitioner that on that date the total ledger cost of the acquired roadway assets on the books of the predecessor corporations, maintained apparently from the dates of acquisition, namely, $ 2,141,980, as reasonably reflected, under the retirement method of accounting used by the predecessor corporations throughout the existence of each, the current investment in the roadway assets which the petitioner acquired as would have been true if specifically designated depreciation accounts had been maintained by the predecessor corporations through the straight-line or some other acceptable method.  Boston &amp; Maine Railroad, supra, p. 1526. It must be remembered that the Commissioner accepted the retirement method of accounting as properly reflecting the income of the predecessor corporations and their accounting for depreciation sustained during the period from and*186  after February 28, 1913, through January 31, 1944.  We agree with the petitioner that no adjustment is "proper" to $ 2,141,980, which is the "substituted basis" in petitioner's hands, under section 113 (b) (1) (B) with respect to the period from and after February 28, 1913, through January 31, 1944.  One reason for this conclusion is that under the retirement method of accounting all the assets owned by each of the predecessor railroad companies were treated as a composite unit, and the assumption is made "that when such method [retirement] is applied to a taxpayer's holdings as a unit it will reflect 'a reasonable allowance' for depreciation, and that such allowance will approximate the result arrived at by the usual depreciation method." Chicago &amp; North Western Railway Co., supra, p. 886. That is to say, the predecessor corporations deducted the cost of restorations and renewals (along with the expenses of maintenance), which under other systems would have been capitalized; they also deducted the cost of an item upon its retirement. These deductions "are considered to be the rough equivalent of other methods of recovering cost through deductions for*187  depreciation." Los Angeles &amp; Salt Lake Railroad Co., supra, p. 648; Boston &amp; Maine Railroad, supra, p. 1528.The respondent, in disallowing part of the deduction for depreciation for each taxable year which petitioner took in its returns, adjusted the substituted basis of the acquired assets in petitioner's hands by setting up as a "reserve for past depreciation," 30 per cent of the substituted basis.  This represented the respondent's view that the ledger cost of the acquired assets which was carried over to petitioner, namely, $ 2,141,980, did not reflect depreciation allowed (but not less than the amount allowable) with respect to the period after February 28, 1913, through January 31, 1944.  In making this adjustment the respondent has refused to accept the theory underlying the retirement *657  method which was an approved standard method of accounting of railroad companies.  He has made this adjustment in this case in spite of the principle which has now received repeated judicial approval that, as stated in Boston &amp; M. R. R. v. Commissioner, supra:the underlying theory of*188  the retirement method is that the charges to expense on account of all the items replaced or retired in any particular year are taken as a rough equivalent of what would be a proper depreciation allowance for all the working assets of the company for that year.Under this theory of retirement accounting, therefore, the figure of $ 2,141,980 on January 31, 1944, reflects the proper depreciation allowances for the period February 28, 1913, through January 31, 1944, for all the roadway assets as a unit, as of January 31, 1944, and (B) of section 113 (b) (1) is not applicable.  It is so held.Also, the respondent's adjustment, the setting up of a 30 per cent "reserve for past depreciation," would have the effect of requiring petitioner to make an adjustment to the substituted basis for past depreciation which would, in effect, duplicate what already was done by its predecessors under the retirement method.  See Boston &amp; Maine Railroad, supra, p. 1528, where we said that the effect of the adjustment would be to require a double adjustment.  We agree with the petitioner on this point.Another reason why the respondent's determination is wrong is because *189  it fails to restore to the capital accounts of the predecessor corporations expenditures for renewals, restorations, additions, replacements, and betterments which were charged directly to current expense, and were deducted as expense, and were never reflected in the capital account under the retirement method during the period after February 28, 1913, through January 31, 1944.  Paraphrasing what we said in Los Angeles &amp; Salt Lake Railroad Co., supra, at pp. 648 and 649, no fair approximation of the predecessor corporations' investment in the railroad properties as a unit, for the purpose of making proper adjustments to the substituted basis in petitioner's hands for past depreciation, is feasible "without the details of both expenditure and depreciation; * * *" "* * * we cannot regard it as proper to make an adjustment in one direction while recognizing the impossibility of others of a compensating character." The respondent recognizes and admits the impossibility of restoring to the capital accounts all of the properties used in the railroads of the predecessor corporations, those expenditures of a capital type which were not capitalized under the retirement*190  method.  Because of that impossibility he adopted the percentage, 30 per cent of $ 2,141,980, as a "reserve for past depreciation" under the principle of Cohan v. Commissioner, 39 F.2d 540"&gt;39 F. 2d 540. Furthermore, he has made his determination under section 41 of the Code because it is impossible under the retirement *658  method used by the predecessor corporations to literally apply the provisions of (B) of section 113 (b) (1) which refer to exhaustion, wear and tear, and obsolescence to the extent allowed but not less than the amount allowable. Under the retirement method, depreciation deductions, as such, are not allowable, and depreciation deductions, as such, were not allowed to the predecessor corporations.  Respondent has acted under section 41 of the Code, he says, "in such way as to insure the clear reflection of income by petitioner while at the same time conforming with the intent and purpose of section 113 (b) (1) B." We are unable to find any reason why the reasoning of Los Angeles &amp; Salt Lake Railroad Co., supra, should not be applied in this case, under this issue, and applying the reasoning of that case *191  here we must conclude that respondent's adjustment of the substituted basis for past depreciation is not "proper." In the face of that conclusion, there is no ground for respondent's resort to the provisions of section 41.  In Boston &amp; Maine Railroad, supra, at p. 1527, we noted that the Commissioner in that case sought to apply the principle established in the Cohan case, but we were not persuaded that it was either necessary or proper for the Commissioner to use the device approved in the Cohan case for purposes of section 113 (b) (1) where the retirement method had been used.A further reason why the respondent's determination is wrong is that his establishment of a so-called "reserve for past depreciation" (30 per cent) actually reduces the substituted basis by 30 per cent allowing petitioner the right to recover through depreciation deductions only 70 per cent of the substituted basis.  On this point we agree with petitioner.  The petitioner is required by section 113 (a) (20) to take the basis of its predecessors. The theory underlying allowance for depreciation is that capital shall be recovered, or replaced, by depreciation allowances. *192 United States v. Ludey, 274 U.S. 295"&gt;274 U.S. 295. There is no evidence that the predecessor corporations did not properly use the retirement method taking each year, during the period in question, the deductions which, under the retirement method, were in lieu of annual depreciation allowances. The retirement method was proper; it was properly applied by the predecessor corporations.  Petitioner should not be denied the full benefit of the use of the straight-line depreciation method merely because its predecessors used the retirement method.  It must be assumed in recognition of the principles and theory of the retirement method that the capital accounts of the predecessors on January 31, 1944, totaling $ 2,141,980, which is the aggregate basis of the assets as a unit, reasonably reflected current investment in the acquired assets, as would have been true if the predecessors had used the straight-line or some other acceptable method.  Regulations 111, section 29.23 (l)-5, does not limit the method for recovering capital to making charge-offs in equal annual installments, *659  so long as the accounting system which is used, such as the retirement method, *193  is adapted to the taxpayer's business and is "in accordance with any other recognized trade practice." Chicago &amp; North Western Railroad Co., supra, p. 885. Accepting the theory of the retirement method as sound, the petitioner is entitled to recover all of its substituted basis, using the straight-line depreciation method, by charging off the substituted basis over the remaining useful life of the assets unexpired at February 1, 1944, in equal annual installments.  Respondent improperly reduced the capital sum to be recovered by petitioner through annual depreciation allowances to 70 per cent.In allowing petitioner to use the substituted basis which it has taken from its predecessors, without any adjustment for alleged past depreciation, it will not follow that annual depreciation allowances spread over the remaining useful life of the assets unexpired on February 1, 1944, will result in any double recovery of capital which, of course, is what section 113 (b) (1) (B) is intended to prevent.  See explanation in House Ways and Means Committee Report No. 708, 72d Cong. 1st Sess., supra.  Under the theory of the retirement method, the basis carried *194  over to petitioner, namely, $ 2,141,980, reflects the accounting for depreciation sustained during the period after February 28, 1913, for the assets as a unit, Boston &amp; Maine Railroad, supra, and, therefore, represents the net capital investment of the predecessor corporations in the assets, as a unit, or the capital investment which they would have recovered under the retirement method if they had continued to own the assets in question.Also, in allowing petitioner to use the substituted basis without the adjustment which the respondent has made, the annual depreciation deductions which petitioner will take under the straight-line depreciation method will not constitute "an effort to make up for the failure to take any prior yearly 'depreciation' * * *" on the assets.  Virginian Hotel Corp. of Lynchburg v. Helvering, 319 U.S. 523"&gt;319 U.S. 523, does not apply for the reason that depreciation, as such, was not "allowable," during the years the assets in question were held by the predecessor corporations.  See Kansas City Public Service Co. v. United States, supra;Boston &amp; M. R. R. v. Commissioner, supra.*195 It is held that under the circumstances here present, the adjustment of the basis of the predecessor corporations which the respondent has made is not "proper" under (B) of section 113 (b) (1).  Consequently it is not a proper adjustment under section 113 (b) (2), and accordingly need not be made.All of the contentions of each party have been considered.  The briefs of each party are exhaustive and thorough.  It is not necessary in order to decide the question to set forth all of petitioner's or all of respondent's contentions.  The foregoing covers the chief points involved in disposing of this issue.*660  3. For the purpose of computing losses sustained in 1944 and 1945 upon the retirement of certain assets, is adjustment of basis "proper" with respect to a period prior to March 1, 1913, for depreciation to the extent sustained under section 113 (b) (1) (C)?This question is controlled by the Los Angeles &amp; Salt Lake Railroad Co., the Boston &amp; Maine, and the Union Pacific cases, supra.  The reasoning of this Court in Boston &amp; Maine Railroad, supra, p. 1528, upon this question was approved by the Court of Appeals*196  for the First Circuit.  We repeat what was said in Boston &amp; Maine Railroad at p. 1528:we think it well settled that where the retirement method of accounting is properly and correctly established and maintained the original cost of items of roadway property installed prior to March 1, 1913, is not to be reduced by depreciation sustained to that date in computing and determining the amount of deduction to which a railroad is entitled upon the retirement of such property.  The reason is that an accounting has already been made for the depreciation sustained through the direct charge to expense or profit and loss of expenditures which under other methods of accounting would have been capitalized and through the prior retirement, over the life of the property currently being retired, of other items of roadway property at their original costs.  * * * To hold in such circumstances that the original cost of the items currently being retired must also be reduced for depreciation sustained to March 1, 1913, would, in effect, be to require a railroad to make a double adjustment of the basis of its properties for depreciation.Under the above reasoning, this proceeding is not distinguishable*197  from the Los Angeles &amp; Salt Lake Railroad and the Boston &amp; Maine cases, supra.  That petitioner uses the straight-line depreciation method, whereas in the cited cases the taxpayers used the retirement method, makes no difference in applying the above reasoning here.  Respondent admits that he disagrees with the cited authorities.  He offers nothing in this case by way of argument or otherwise which he did not present in the cases relied upon.  We do not sustain the respondent under this issue because to do so would be to require petitioner to make an adjustment to the basis of the properties retired in 1944 and 1945, which were acquired by the predecessor corporations before March 1, 1913, which would, in effect, duplicate what already was done by the predecessors under the retirement method, in computing its losses upon retirement of the properties.  It is held that under section 113 (b) (1) (C) it is not "proper" to adjust the basis of the assets which petitioner retired in 1944 and 1945 for pre-1913 depreciation.The pleadings present the question whether the petitioner is entitled to a deduction in 1948 in the amount of $ 26,030 because of a long-term capital loss *198  sustained in that amount in 1948.  The question arises under section 117 (d) (1) of the Code.  The respondent asserts that the deduction claimed for 1948 was properly disallowed because of *661  the provisions of section 117 (d) which limits deduction for capital losses to the amount of capital gains in the same period.  The respondent points out, also, that the question of whether the capital loss does or does not result in a capital loss carry-over to another taxable period under section 117 (e) is not an issue in this proceeding.  Since the petitioner's brief does not deal with these questions, and since the parties have entered into a stipulation under this issue, we understand that the matter will be taken care of in a Rule 50 computation.A computation under Rule 50 will be necessary since other adjustments made by the respondent are conceded as proper by the petitioner.Decision will be entered under Rule 50.  Footnotes1. SEC. 113. ADJUSTED BASIS FOR DETERMINING GAIN OR LOSS.(b) Adjusted Basis. -- The adjusted basis for determining the gain or loss from the sale or other disposition of property, whenever acquired, shall be the basis determined under subsection (a), adjusted as hereinafter provided.  (1) General rule.  -- Proper adjustment in respect of the property shall in all cases be made -- * * * *(B) in respect of any period since February 28, 1913, for exhaustion, wear and tear, obsolescence, amortization, and depletion, to the extent of the amount --(i) allowed as deductions in computing net income under this chapter or prior income tax laws, * * ** * * *but not less than the amount allowable under this chapter or prior income tax laws * * ** * * *(C) in respect of any period prior to March 1, 1913, for exhaustion, wear and tear, obsolescence, amortization, and depletion, to the extent sustained;* * * *(2) Substituted basis.  -- The term "substituted basis" as used in this subsection means a basis determined under any provision of subsection (a) of this section or under any corresponding provision of a prior income tax law, providing that the basis shall be determined -- (A) by reference to the basis in the hands of a transferor, donor, or grantor, * * ** * * *Whenever it appears that the basis of property in the hands of the taxpayer is a substituted basis, then the adjustments provided in paragraph (1) of this subsection shall be made after first making in respect of such substituted basis proper adjustments of a similar nature in respect of the period during which the property was held by the transferor, donor, or grantor, or during which the other property was held by the person for whom the basis is to be determined.  A similar rule shall be applied in the case of a series of substituted bases.↩